




THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        Dontrell Walker, Petitioner,
        v.
        State of South Carolina, Respondent.
      
    
  


ON WRIT OF CERTIORARI

Appeal From Sumter County
Clifton B. Newman, Trial Judge
&nbsp;Howard P. King, Post-Conviction Relief
  Judge

Unpublished Opinion No. 2008-UP-270
  Submitted April 1, 2008  Filed May 19,
  2008&nbsp;&nbsp;&nbsp; 

APPEAL DISMISSED


  
    
      
        Deputy Chief Attorney Wanda H. Carter, of Columbia for Petitioner.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney
          General, John W. McIntosh, Assistant Deputy Attorney General, Salley W.
          Elliott, Assistant Attorney General Lance Boozer, all of Columbia, for
          Respondent.
      
    
  

PER CURIAM: Petitioner
  seeks a writ of certiorari from the denial of his application for
  post-conviction relief (PCR).&nbsp; The State does not object to the PCR judges
  finding that petitioner did not knowingly and intelligently waive his right to
  a direct appeal.&nbsp; Accordingly, we grant the petition for a writ of certiorari
  and proceed with a review of the direct appeal issue pursuant to Davis v.
    State, 288 S.C. 290, 342 S.E.2d 60 (1986).
Petitioners appeal is dismissed,[1] after consideration of his counsels brief and review pursuant to Anders v.
  California, 386 U.S. 738 (1967).&nbsp; Counsels motion to be relieved is
  granted.
APPEAL DISMISSED.
HUFF, KITTREDGE, and WILLIAMS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

